                                                                                Case 3:07-cv-02279-EMC Document 105 Filed 01/23/09 Page 1 of 2



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                                                                         5                              UNITED STATES DISTRICT COURT
                                                                         6                             NORTHERN DISTRICT OF CALIFORNIA
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                                                                         8    ROLAND E. GARCIA,                        No. C-07-2279 EMC
                                                                         9                Plaintiff,
                                                                                                                       AMENDED JURY INSTRUCTION
                                                                         10         v.                                 NO. 28
United States District Court




                                                                         11   DAVID COLEMAN, et al.,
                               For the Northern District of California




                                                                         12               Defendants.
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                                                                         15                  NINTH CIRCUIT MODEL CIVIL JURY INSTRUCTIONS
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                                                                         1                        JURY INSTRUCTION NO. 28 -- OPINION EVIDENCE
                                                                         2           Some witnesses, because of education or experience, are permitted to state opinions and the
                                                                         3    reasons for those opinions.
                                                                         4           Opinion testimony should be judged just like any other testimony. You may accept it or
                                                                         5    reject it, and give it as much weight as you think it deserves, considering the witness’s education and
                                                                         6    experience, the reasons given for the opinion, and all the other evidence in the case.
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United States District Court




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                               For the Northern District of California




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